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                             G. Lee Cross, III, MD
                                  5085 Falcon Chase Lane
                                Atlanta, Georgia 30342-2180
         Home 404-255-5228, Cell 404-408-4034, Office 404-562-1554, Fax 404-255-3256
                                Email glc3md@bellsouth.net

Education
Davidson College, BS, Major Pre-Med           1969
Emory University School of Medicine, MD 1973
Internship (straight surgery), Georgia Baptist Medical Center 1973-74
Residency in Orthopaedic Surgery, Georgia Baptist and Scottish Rite Hospitals 1974-78

License
State of Georgia, August 15, 1974, # 016223

Board Certifications
American Board of Orthopaedic Surgery, September 7, 1979 permanent
American Board of Spine Surgery, December 1999 through December 2009

Affiliations
Atlanta Bone and Joint Surgeons, P.C. (f.k.a. Flinchum, Cross, Powell, PC) 1980 to
12/31/03 when closed business – business license surrendered approximately 2010
Fayette Medical Clinic 1992 to 2000
Medical Director Southlake Surgery Center 1997-98

Hospital Privileges
       Atlanta Medical Center (f.k.a. Georgia Baptist Medical Center) 1980 until retired
       from practice December 31, 2003
       Northside Hospital, 1998 to December 31, 2003 when retired

Professional Appointments
Clinical Associate Professor of Orthopaedic Surgery, Seoul National University, Seoul,
Korea 1979
Medical Consultant, Holt Children’s Services, Seoul, Korea, 1978-79
Director of Trauma, Orthopaedic Department, Georgia Baptist Medical Center 1986-88
Chairmen Department of Orthopaedic Surgery, Georgia Baptist Medical Center 1988-89
President Elect Medical Staff, Georgia Baptist Medical Center January 1996 through
December 1997
President Medical Staff, Atlanta Medical Center, January 1998 through December 2000
Past-President Medical Staff, Atlanta Medical Center, January 2001 through December
2002
Served on the Board of Trustees for Georgia Baptist Healthcare System as a voting
member
Served on Atlanta Medical Center Board of Directors
Past Vice-Chairman, Georgia Baptist College of Nursing Board
Served on Board of Georgia Special Olympics 1998-2001
Cindy Donald Dreams of Recovery Foundation Medical Advisory Committee



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Atlanta Medical Center Medical Staff Committee Positions
Tissue Committee 1984
Orthopaedic Department Quality Control Committee 1991-92
Chairman Documentation Review Team 2001-2003
Chairman ByLaws Committee
Chairman Credentials Committee
Ex-Officio Member Quality Council 1998-2000 (while President of the Medical Staff)
Interim Program Director Orthopaedic Surgery Residency Atlanta Medical Center May 1,
2004 through August 1, 2004

Current Professional Memberships
American Academy of Orthopaedic Surgeons, Emeritus
Atlanta Orthopaedic Society, Emeritus
Medical Association of Georgia, Emeritus
Georgia Orthopaedic Society, Emeritus
American College of Spine Surgery, Emeritus
Michael Hoke Society

Past Professional Memberships
American Medical Association
Undersea Medical Society
AO Alumni Association
Southern Orthopaedic Association
Eastern Orthopaedic Association

Undergraduate Honorary Societies
Alpha Epsilon Delta Premedical Honor Society
Gama Sigma Epsilon Chemical Fraternity

Social Fraternity
Sigma Phi Epsilon

Lectures and Course Participation in Teaching Roles
Instructor, AO Course, April 20 to April 26, 1991, Marco Island, Florida
Lecturer, Techniques in Spinal Fixation, May 16, 1992, London, England
Moderator and Lecturer, Techniques in Spinal Fixation, September 12, 1992, Atlanta,
Georgia
Lecturer, Techniques in Spinal Fixation, October 17, 1992, Nikko, Japan
Lecturer in Spinal Fixation, May 8, 1993, Kansas City, Missouri
Visiting Lecturer, Grand Rounds, University of California at Davis, May 11, 1993
Lecturer, Techniques in Spinal Fixation, Cancun, Mexico, May 15, 1998
Lecturer, Techniques in Spinal Fixation, New Jersey, August 28, 1998
Lecturer, Techniques in Spinal Fixation, Palm Springs, California, January 14-17, 1999



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Lecturer, Georgia Rehabilitation Counselors Meeting, “OssaTron Study for Treatment of
Plantar Fasciitis and Lateral Epicondylitis” May 1999
Lecturer, Spine Fusion Workshop, Key West, Florida, June 2000
Lecturer, Southern Medical Association Meeting, “OssaTron Study for Treatment of
Plantar Fasciitis” Bermuda, July 2000
Lecturer, Atlanta Trauma Symposium, Atlanta, Georgia, November 2000

Scientific Publications
Finkenburg JG, Cross GL, Highland T, Kuchrzyk DW, Rogozinski C; Maintanence of
lordosis utilizing a non-contoured intrasegmental spinal fixation system. Presented at the
International Meeting on Advanced Spine Techniques (IMAST), Vancouver, BC,
Canada, July, 1999
Finkenberg JG, Banta C, Cross GL, Dawson E, Gutzman D, Highland T, Kuharzyk D,
Lenderman L, Murphy J, Neely W, Rogozinski A, Rogozinski C; Evaluation and analysis
of patient outcomes with an intrasegmental fixation system in lumbar fusions. The Spine
Journal (2001).
Finkenberg JG, Banta C, Cross GL, Dawson E, Gutzman D, Highland T, Kucharzyk D,
Lenderman L, Murphy J, Neely W, Rogozinski A, Rogozinski C; Evaluation and analysis
of patient outcomes with an intrasegmental fixation system in lumbar spinal fusions.
Presented at the International Meeting on Advanced Spine Techniques (IMAST),
Paradise Island, Bahamas, July 2001.
Cross III GL, Neely W, Banta C, Rogozinski A, Rogozinski C, Walters B.; Patient
outcomes with new independent intrasegmental fixation for ACDF. Presented at the
International Meeting on Advanced Spine Techniques (IMAST), Paradise Island,
Bahamas, July 2001.
Ogden J, Cross GL, Guidera K, Ganey T.; Nail Patella Syndrome. A 55 year follow up of
the original description. Journal of Pediatric Orthopaedics (B) 2002; Oct 11 (4)
Lippincott Williams & Wilkins, Inc., Philadelphia.

Military Service
U. S. Army Medical Corps
Rank Major
1978-1980
Army Commendation Medal awarded twice

Employment History
Orthopaedic Surgeon 121 Evac/US Army Hospital Seoul, Korea 1978-79
Orthopaedic Surgeon MEDDAC Ft. Stewart, Georgia 1979-80
Practiced Orthopaedic Surgery at Atlanta Medical Center primarily 1980-2003 as
employee and later CEO of Atlanta Bone and Joint Surgeons, PC
Medical Consultant, Disability Adjudication Service, Georgia Department of Labor May
10, 2004 to September 2005




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Medical Consultant, Social Security Administration, Atlanta Regional Office October
2005 to present
Medical Board Employees’ Retirement System of Georgia July 2012 to present




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